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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

CINDY BURNETT,

       Plaintiff,

-VS-                                               CASE NO.:

WESTLAKE SERVICES, LLC,

       Defendant.
                                        /

                     COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW Plaintiff, Cindy Burnett, by and through the undersigned counsel,

and sues Defendant, WESTLAKE SERVICES, LLC, and in support thereof respectfully

alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq.

(“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 et seq.

(“FCCPA”).

                                      INTRODUCTION

        1.          The TCPA was enacted to prevent companies like WESTLAKE

SERVICES, LLC (hereinafter “Defendant”) from invading American citizen’s privacy

and prevent abusive “robo-calls.”

        2.          “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

        3.          “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our


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dinner at night; they force the sick and elderly out of bed; they hound us until we want to

rip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings

presumably intended to give telephone subscribers another option: telling the autodialers

to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

2014).

         4.     According    to the    Federal   Communications     Commission     (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are thousands

of complaints to the FCC every month on both telemarketing and robocalls. The FCC

received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

Phones,       Federal     Communications         Commission,      (May      27,     2015),

http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

333676A1.pdf.

                             JURISDICTION AND VENUE

         5.     This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

         6.     Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

         7.     Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the


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Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        8.      The alleged violations described herein occurred in Orange County,

Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

as it is the judicial district in which a substantial part of the events or omissions giving

rise to this action occurred.

                                   FACTUAL ALLEGATIONS

        9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in

Orange County, Florida

        10.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

        11.     Plaintiff is an “alleged debtor.”

        12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

        13.     Defendant is a corporation which was with its principal place of business

located at 4751 Wilshire Blvd., Los Angeles, California, 90010 and which conducts

business in the State of Florida through its registered agent, Corporate Creations Network

Inc., located at 11380 Prosperity Farms Rd. #221E, Palm Beach Gardens, Florida, 33410.

        14.     The debt that is the subject matter of this Complaint is a “consumer debt”

as defined by Florida Statute §559.55(6).

        15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5).



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       16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately

one hundred (100) times in an attempt to collect a debt.

       17.     Defendant attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.

       18.     Upon information and belief, some or all of the calls the Defendant made

to Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an

autodialer because of the vast number of calls she received and because she heard a pause

when she answered her telephone before a voice came on the line and/or she received

prerecorded messages from Defendant.

       19.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (407) ***-3385 and was the called party and recipient of Defendant’s calls.

       20.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

cellular telephone (407) ***-3385 in an attempt to collect on a automobile loan.

       21.     On several occasions over the last year Plaintiff instructed Defendant’s

agent(s) to stop calling her cellular telephone.

       22.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following telephone number:

(888) 739-9201.



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        23.     On or about September 2018, Plaintiff communicated with Defendant

from her aforementioned cellular telephone number and instructed Defendant’s agent to

cease calling by stating: “I don’t owe you the money, you guys got the car, stop calling

me.”

        24.     Again in September 2018, Plaintiff communicated with Defendant from

her aforementioned cellular telephone number and instructed Defendant’s agent to “stop

calling me.” Defendant’s agent/representative responded by stating “as long as you have

a balance, the calls will remain.”

        25.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

cellular telephone in this case.

        26.     Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephone in

this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

        27.     Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

the calls to stop.

        28.     Defendant has numerous other federal lawsuits pending against it alleging

similar violations as stated in this Complaint.

        29.     Defendant has numerous complaints across the country against it asserting

that its automatic telephone dialing system continues to call despite requested to stop.




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        30.    Defendant has had numerous complaints from consumers across the

country against it asking to not be called; however, Defendant continues to call the

consumers.

        31.    Defendant’s corporate policy provided no means for Plaintiff to have her

number removed from Defendant’s call list.

        32.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        33.    Not a single call placed by Defendant to Plaintiff were placed for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        34.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        35.    From each and every call placed without consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon her right of seclusion.

        36.    From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of her cellular

telephone line and cellular telephone by unwelcome calls, making the telephone

unavailable for legitimate callers or outgoing calls while the telephone was ringing from

Defendant’s calls.

        37.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

her time. For calls she answered, the time she spent on the call was unnecessary as she



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repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

time to unlock the telephone and deal with missed call notifications and call logs that

reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular telephone, which are designed to inform the user of important missed

communications.

       38.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff’s cellular telephone,

which are designed to inform the user of important missed communications.

       39.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

       40.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space in

Plaintiff’s telephone or network.

       41.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely her cellular telephone and her cellular telephone services.




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        42.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affected in a personal and individualized way by frustration,

stress, and aggravation. Plaintiff even contemplated changing her telephone number just

to escape the telephone calls from Defendant.

                                         COUNT I
                                  (Violation of the TCPA)

        43.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-two (42) as if fully set forth herein.

        44.     Defendant willfully violated the TCPA with respect to Plaintiff, especially

for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

notified Defendant that she wished for the calls to stop.

        45.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against WESTLAKE SERVICES, LLC for statutory damages,

punitive damages, actual damages, treble damages, enjoinder from further violations of

these parts and any other such relief the court may deem just and proper.

                                         COUNT II
                                 (Violation of the FCCPA)

        46.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty-two (42) as if fully set forth herein



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       47.     At all times relevant to this action Defendant is subject to and must abide

by the laws of the State of Florida, including Florida Statute § 559.72.

       48.     Defendant has violated Florida Statute § 559.72(7) by willfully

communicating with the debtor or any member of his or her family with such frequency

as can reasonably be expected to harass the debtor or his or her family.

       49.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

in other conduct which can reasonably be expected to abuse or harass the debtor or any

member of his or her family.

       50.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

prior and continuous sustaining of damages as described by Florida Statute § 559.77.

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against WESTLAKE SERVICES, LLC for statutory damages,

punitive damages, actual damages, costs, interest, attorney fees, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.

                                              Respectfully submitted,

                                             /s/ Jason R. Derry, Esquire
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